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           UNITED STATES DISTRICT COURT
                                District of Kansas
                                 (Topeka Docket)

UNITED STATES OF AMERICA,

                   Plaintiff,

             v.                                CASE NO.:    96-40018-JAR

GREGORY STOREY,

                   Defendant.



            ENTRY OF APPEARANCE BY GOVERNMENT COUNSEL




      Jared S. Maag, Assistant United States Attorney for the District of Kansas, hereby

enters his appearance as counsel for the United States.    Copies of all pleadings and

correspondence should be served on Jared S. Maag at the office of the United States

Attorney shown below.




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                                  Respectfully submitted,

                                  STEPHEN R. McALLISTER
                                  United States Attorney
                                  District of Kansas



                                  By:           /s/   Jared S. Maag
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of January, 2020, I electronically filed the
foregoing Entry of Appearance with the Clerk of the Court by using the CM/ECF system.




                                  By:           /s/   Jared S. Maag
                                         JARED S. MAAG, Ks. Bar. No. 17222
                                         Assistant United States Attorney




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